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December 7, 2021

VIA ELECTRONIC FILING

Hon. Lewis A. Kaplan
District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

Re: US. v. Warren Alexander, 20 er. 37 (LAK)

Dear Judge Kaplan:

        I represent Warren Alexander in the above-referenced matter. Mr. Alexander pleaded
guilty and is scheduled for sentencing on December 20, 2021 . I request an adjournment to either
the week of January 3, 2022, or any date starting the week of January 24, 2022. 1

       Mr. Alexander pleaded guilty on October 4, 2021, before a Magistrate Judge. The
Magistrate set a control date of December 20, 2021. The Final Probation report is not due until
December 23, 2021. This Court has since adopted December 20 th as a sentencing date. The
Defense needs additional time to complete the sentencing memorandum. Mr. Alexander faces a
considerable amount of prison time. I have the consent of the Government for this request.

           Please contact me if you have any questions or concerns.

Sincerely,
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s/Marlon G. Kirton
Marlon G. Kirton, Esq.
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    I have a two-week trial starting on January 10, 2022, in the South

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